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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                      CASE NO. 1:21-CR-00512-PLF

                                                      Honorable Paul L. Friedman
       v.
                                                      United States District Judge
MATTHEW PURSE,

                       Defendant.


       MATTHEW PURSE’S UNOPPOSED MOTION FOR LEAVE TO SUBMIT

        SUPPLEMENTAL BRIEF IN SUPPORT OF HIS MOTION TO DISMISS



       Defendant Matthew Purse, by and through his attorneys of record, hereby requests that

the Court the Parties to submit supplemental briefing to address the implications of the D.C.

Circuit’s recent opinion in United States v. Fischer, No. 22-3038, 2023 WL 2817988, at *1 (D.C.

Cir. Apr. 7, 2023) on his pending Motion to Dismiss the Indictment.

       In support, undersigned counsel submits as follows:

            1. Mr. Purse filed his Motion to Dismiss the Indictment on March 31, 2022 [Doc.

               34], the government filed its Opposition on April 21, 2022 [Doc. 35], and Mr.

               Purse filed his Reply on April 28, 2022 [Doc 35].

            2. Recently, on April 7, 2023, the D.C. Circuit issued an opinion in Fischer

               regarding the scope of 18 U.S.C. 1512(c)(2), which is one of the claims brought

               against Mr. Purse in the Indictment. Given the length and complexity of the

               Fischer opinion (it is over 100 pages long and consists of a concurrence and

               dissent), Mr. Purse believes that the Court would benefit from supplemental

               briefing regarding the implications that the Fischer opinion has on Mr. Purse’s

               pending motion.


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           3. Undersigned counsel discussed this request with the government’s counsel, who

               has no objection to this request but requested the opportunity to file an opposition

               brief discussing Fischer as well. Accordingly, the Parties agreed that if the Court

               allows Mr. Purse to file a supplemental brief, the government will have two (2)

               weeks to file an opposition brief and Mr. Purse will have one week to file an

               optional reply.

           WHEREFORE, Mr. Purse respectfully requests that the Court permit him to file a

   supplemental brief within two (2) weeks from the date of the Court’s Order, that the

   government shall have two (2) weeks from the date the supplemental brief is filed to file an

   opposition, and that Mr. Purse shall have one week from the date that the opposition is filed

   to file an optional reply brief.



Dated: April 12, 2023                     Respectfully submitted,

                                          LARSON LLP


                                          By:           /s/ Stephen G. Larson
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